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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                                       Criminal Case No. 14-20383
 v.
                                                               Honorable Nancy G. Edmunds
 SYLVESTER BOSTON JR.,

              Defendant.
                               /

                                 ORDER DENYING DEFENDANT’S
                           MOTION FOR COMPASSIONATE RELEASE [389]

         Pending before the Court is Defendant’s Motion for Compassionate Release. (ECF

 No. 389.)1 Defendant requests that pursuant to the First Step Act of 2018 and 18 U.S.C.

 § 3582(c)(1)(A) the Court resentence him to a sentence of imprisonment of time served,

 or alternatively, convert the remainder of his sentence to a term of supervised release.

 Defendant contends he faces a serious risk of severe illness or death as a result of the

 COVID-19 pandemic and that this constitutes an extraordinary and compelling

 circumstance justifying compassionate release. The government opposes the requested

 relief and has filed a response. (ECF No. 403.)2 The Court has reviewed the record in its

 entirety and finds that a hearing on this matter is not necessary. For the reasons set forth

 below, the Court DENIES Defendant’s motion.

         I.         BACKGROUND




         1
           Defendant is represented by pro bono counsel in connection with his motion for compassionate
 release. The Court commends counsel for taking on this pro bono representation, and the Court
 appreciates counsel’s efforts and strong briefing in support of the motion.
         2
           Both parties filed motions for leave to file supplemental information. (ECF Nos. 406 & 407.) The
 motions are hereby GRANTED.

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        On July 10, 2017, Defendant pled guilty to one count of conspiracy to manufacture,

 distribute, and possess with intent to distribute Benzylpiperazine (“BZP”) in violation of 21

 U.S.C. §§ 841 & 846. The criminal charges arose from what the Government describes

 as Defendant’s role in operating a sophisticated ecstasy pill manufacturing and

 distribution scheme. On April 10, 2018, the Court sentenced Defendant to be imprisoned

 for a term of 108 months. As the Government observes, Defendant’s sentence was

 approximately five years below the advisory guideline range.

        Defendant is currently confined at FCI Loretto. According to the Government,

 Defendant began serving his sentence on May 22, 2018. He has thus served

 approximately two and half years of his nine-year sentence. Defendant’s projected

 release date is February 24, 2026.

        Defendant is 39 years old. He claims to suffer from a myriad of health conditions

 including, asthma, diabetes, heart disease, and “kidney complications.” The Government

 disputes Defendant’s assessment of his health and disagrees with the severity of

 Defendant’s claimed conditions. To this end, Defendant acknowledges that he has not

 actually   been   diagnosed    with   diabetes,   heart   disease,    or   kidney   disease.

 Notwithstanding, Defendant claims that as a result of his health conditions, he is at a high

 risk of severe illness or death if he is exposed to COVID-19.

        On April 29, 2020, Defendant submitted a request to the warden at FCI Loretto for

 compassionate release.      On May 5, 2020, the BOP denied Defendant’s request.

 Defendant contends he therefore properly exhausted his administrative remedies before

 seeking relief in this Court. The Government disagrees and argues that Defendant’s

 request to the warden did not fully satisfy his duty to exhaust his administrative remedies



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 because the request to the warden provided different reasons than those identified in

 Defendant’s motion.

        Notwithstanding, Defendant now moves for compassionate release in this Court.

 The motion has been fully briefed and is ripe for consideration.

        II.    ANALYSIS

        As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A) authorizes courts to

 modify terms of imprisonment as follows (emphasis added):

        The court may not modify a term of imprisonment once it has been imposed
        except that—in any case—the court, upon motion of the Director of the
        Bureau of Prisons, or upon motion of the defendant after the defendant has
        fully exhausted all administrative rights to appeal a failure of the Bureau of
        Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days
        from the receipt of such a request by the warden of the defendant’s facility,
        whichever is earlier, may reduce the term of imprisonment (and may impose
        a term of probation or supervised release with or without conditions that
        does not exceed the unserved portion of the original term of imprisonment),
        after considering the factors set forth in section 3553(a) to the extent that
        they are applicable, if it finds that—

               (i) extraordinary and compelling reasons warrant such a reduction ...
               and that such a reduction is consistent with applicable policy
               statements issued by the Sentencing Commission.

 Thus in order to obtain relief under 18 U.S.C. § 3582(c)(1)(A)(i), a defendant must satisfy

 the exhaustion requirement and demonstrate that “extraordinary and compelling reasons”

 warrant a reduction of his sentence or compassionate release. In addition to this showing,

 the Court must also consider the sentencing factors described in 18 U.S.C. § 3553(a) and

 determine whether a sentence reduction would be “consistent with applicable policy

 statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

        In his motion, Defendant claims he properly exhausted his administrative remedies

 and that his medical conditions in the wake of the COVID-19 pandemic constitute



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 extraordinary and compelling circumstances warranting compassionate release under §

 3582(c).     The Government responds that Defendant did not properly exhaust his

 administrative remedies and that his health conditions do not entitle him to compassionate

 release. The Government also argues that Defendant is not entitled to release under §

 3582(c) because he poses a continued danger to the community and the sentencing

 factors described in 18 U.S.C. § 3553(a) do not warrant his release.

         Having considered the record in its entirety, the Court agrees the with Government

 that Defendant has failed to demonstrate that he is entitled to compassionate release at

 this time. Specifically, the Court finds that consideration of the factors set forth in 18

 U.S.C. § 3553(a) weigh against granting the requested relief.3                         The nature and

 circumstances of Defendant’s offenses are serious, and that one factor weighs against

 granting compassionate release under the circumstances presented here. See §

 3553(a)(1). Moreover, the Court finds that releasing Defendant to home confinement at

 this point, with significant time remaining on his sentence and under these circumstances

 would not be consistent with the other § 3553(a) factors. The Court finds that the statutory

 goal of imposing punishment would not be satisfied by releasing Defendant to home

 confinement at this point. And the Government’s argument concerning the continued

 danger Defendant poses to the community in light of the nature and circumstances of his




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           Because the Court finds that consideration of the § 3553(a) factors is dispositive of Defendant’s
 motion, the Court will assume that Defendant sufficiently exhausted his administrative remedies before
 seeking relief in this Court. The Court will also not address whether Defendant’s health conditions in the
 wake of the COVID-19 pandemic constitute an extraordinary and compelling circumstance. However,
 based on the record before the Court, Defendant does not appear to be at a higher risk of contracting the
 virus than any other inmate at FCI Loretto, and he has not clearly established that he is in the category of
 individuals that the CDC has deemed to have the highest risk of suffering severe complications from
 COVID-19.

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 criminal conduct is compelling. Thus granting the requested relief would be inconsistent

 with and not supported by the § 3553(a) factors.

       III.   CONCLUSION

       Accordingly, for the above stated reasons, IT IS HEREBY ORDERED that

 Defendant’s Motion for Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A) is

 DENIED.

       SO ORDERED.

                                                    s/Nancy G. Edmunds
                                                    Nancy G. Edmunds
                                                    United States District Judge



 Dated: November 5, 2020

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on November 5, 2020, by electronic and/or ordinary mail.


                                                    s/Lisa Bartlett
                                                    Case Manager




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